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                          UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO



                                                 Case No. 1:13-CR-0065-BLW
UNITED STATES OF AMERICA,
                                                 MEMORANDUM DECISION AND
   Plaintiff,                                    ORDER

      vs.

ELAINE MARTIN and DARRELL
SWIGERT

   Defendants.

                                     INTRODUCTION

       The Court has before it three post-trial motions filed by the defense and a motion

to strike filed by the Government. The motions are fully briefed and at issue. For the

reasons expressed below, the Court will deny the motions filed by the defense and grant

the motion to strike filed by the Government.

                                         ANALYSIS

Motion for Acquittal

       The defendants have filed a motion for acquittal under Rule 29. To resolve this

motion, the Court “must consider the evidence presented at trial in the light most

favorable to the prosecution.” U.S. v. Grasso, 724 F.3d 1077, 1085 (9th Cir. 2013). The

Court “must presume – even if it does not affirmatively appear in the record – that the

trier of fact resolved . . . conflicts in favor of the prosecution, and must defer to that

resolution.” Id. at 1085-86. The Court must determine whether the evidence, viewed in

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that manner, “is adequate to allow any rational trier of fact to find the essential elements

of a crime beyond a reasonable doubt.” Id.

       Defendants first argue that the conviction for obstructing a pending proceeding

should be set aside, because the investigation by the United States Attorney’s Office does

not qualify as a proceeding under 18 U.S.C. § 1505. The Court earlier rejected this

argument and finds no reason to reconsider that decision. See Trial Tr. at 5249.

       The defendants also argue that there is insufficient evidence that they were aware

of the investigations. The Court disagrees. There was evidence from Revenue Agent

Charlie Becker and Special Agent Josh Culbertson that indicated defendants knew of the

investigations. Moreover, Exhibit 1909 is evidence that as early as 2008, both defendants

knew of the IRS investigation.

       The defendants argue that the Government improperly vouched for their

investigation by describing it as the “ultimate” investigation in an attempt to persuade the

jury that their own investigation was of high quality and had integrity. By describing the

investigation using this adjective, the defendants argue, the Government placed the

prestige of the U.S. Attorney’s Office behind the investigation and therefore improperly

vouched for its own investigation.

       The defendants cite U.S. v. Hermanek, 289 F.3d 1076 (9th Cir. 2002) for the

proposition that the Government cannot place its prestige behind the credibility of the

investigation. In that case, prosecutors “portrayed themselves as part of the team

conducting the criminal investigation” and described how they adhered to the law and

maintained the integrity of the investigation. The Circuit found this to be improper

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vouching. Id. at 1098-99. Nothing of the sort happened in this case. In context, the

adjective “ultimate” was used to describe how it came at the end of a process, and was

not used to heap praise upon it or vouch for its worthiness. The Court can find no

improper vouching here.

       The defendants argue that there was insufficient evidence of a conspiracy to

obstruct. The Court disagrees. The evidence consists of the testimony of Christina

Mendez, along with the gift and loan documents – Exhibits 1905 and 1906 – and Martin’s

note – Exhibit 1909. The defendants challenge the credibility of Mendez but it is not so

inherently unbelievable that it must be ignored. In a Rule 29 motion, “credibility of

witnesses is a question for the jury,” not for the Court. U.S. v. Delgado, 357 F.3d 1061,

1068 (9th Cir. 2004).

Motion for New Trial

       Defendants have filed a motion for a new trial. Rule 33 states that “[u]pon the

defendant’s motion, the Court may vacate any judgment and grant a new trial if the

interest of justice so requires.” See Fed. R. Crim. P. 33(a). This Court’s power to grant a

motion for a new trial “is much broader than its power to grant a motion for judgment of

acquittal.” U.S. v. Alston, 974 F.2d 1206, 1211 (9th Cir. 1992). “The district court need

not view the evidence in the light most favorable to the verdict; it may weigh the

evidence and in so doing evaluate for itself the credibility of the witnesses.” Id. “If the

court concludes that, despite the abstract sufficiency of the evidence to sustain the

verdict, the evidence preponderates sufficiently heavily against the verdict that a serious



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miscarriage of justice may have occurred, it may set aside the verdict, grant a new trial,

and submit the issues for determination by another jury.” Id. at 1211-12.

       Defendants argue that a new trial is warranted because the prosecution violated its

duty to disclose exculpatory information, as required by Brady v. Maryland, 373 U.S. 83

(1963). Specifically, defendants argue that the Government failed to produce two

different trial exhibits: (1) a facsimile from Martin to Trevor Gunstream, which was

offered by defense and admitted at trial as Exhibit 2095; (2) two pages of screenshots

showing metadata related to the creation and modification dates for government exhibits

1905 and 1906; these screenshots were offered by the Government and admitted at trial

as Exhibit 1927.

       The Court turns first to Exhibit 2095. It is an e-mail prepared by Martin and

introduced into evidence at trial by the defense. The Government never had this

document in its possession until the defense introduced it into evidence. See Government

Reply Brief (Dkt. No. 284) at p. 6. Thus, the Government did not fail to turn over Exhibit

2095 and thus did not violate Brady with regard to that document.

       Turning to Exhibit 1927, the Government only copied the drives on the MarCon

computers and did not take possession of them. Thus, the defendants had possession of

the MarCon computers at all times prior to trial. Moreover, the Government provided

copies of the computer images made during the search warrant – from which Exhibit

1927 was prepared – prior to trial. Exhibit 1927 itself was disclosed promptly to the

defense on August 16, 2013, soon after it was created. There remained 19 trial days for

the defense to use Exhibit 1927. The defense does not describe its prejudice other than to

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note that it could not make use of Exhibit 1927 during its opening statement on August

12, 2013, or in its cross-examination of certain Government witnesses. But the defense

does not describe how Exhibit 1927 would have made any difference, and the Court’s

own analysis is that it would have not made any difference.

       Defendants argue next that the Court improperly admitted Exhibit 1909. The

Court initially admitted Exhibit 1909 subject to the Government proving by a

preponderance of the evidence the existence of a conspiracy. See Trial Tr. at p. 4854.

Later, the Court held that the Government had met that burden. See Trial Tr. at p. 5249.

With regard to Swigert, the evidence connects him to the conspiracy through the

explanation that he offered in the second proffer session and before the Grand Jury. See

Trial Tr. at 4833-52. In both instances, he said that the $256,000 was a gift and not a

loan, and that he was not holding that money for Martin. Moreover, Swigert joined in the

decision to fire Steve Harding after the IRS civil audit began. With regard to Martin, the

evidence of her connection to the conspiracy is overwhelming. Exhibit 1909 was made

for the purpose of furthering the conspiracy because it set forth strategies for

concealment. For all of these reasons, the Court finds that Exhibit 1909 was properly

admitted.

       Defendants argue next that the Government impermissibly sought to shift the

burden of proof to them. In the course of arguing that Swigert was holding $256,000 for

Martin so that she would falsely qualify for federal programs, the Government told the

jury that it did not have to prove the details of how Swigert received the $256,000 from

Martin. That is true. Regardless of how Swigert’s obligation was created, a reasonable

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juror could find from all the evidence that the gift and loan documents were fabricated in

an attempt to hide the money so Martin would continue to qualify for the programs. That

is the essence of the obstruction charge and so there was no impermissible shifting of the

burden of proof.

         The Court turns next to defendants’ objection to the exhibits admitted through

Special Agent Jared Gross that were found on the computer of Carma Christensen. These

are Exhibits 1309, 4124, 4202, 4204, 4205-4208, 4210-4215, 4219, 4231, 4235-4237,

4269, 4322, 4336, and 4462. Their admission, Martin argues, violates Rule 901 as they

were never properly authenticated. Specifically, Martin argues that the Government

never demonstrated how these exhibits came onto Christensen’s hard drive in the first

place.

         During the testimony of Gross – who testified that he took the documents off the

USB provided by Carma Christensen – the Court expressed a reservation under Rule 901

that “we’re going to need to have Ms. Christensen verify how that information came onto

her hard drive.” See Trial Tr. at 2060. Following the testimony of Gross, the

Government called Christensen, and she testified at length about how she backed up

MarCon’s files to a USB drive, and then provided that drive to the IRS. See Trial Tr. at

2346-2353. During her testimony, she talked specifically about some of the Exhibits that

Martin claims lacked foundation, including the following: Exhibits 4205 (see Trial Tr. at

2631, 2655-57); 4211 (see Trial Tr. at 2657-61); 4219 (see Trial Tr. at 2669); 4211 (see

Trial Tr. at 2746); and 4204 (see Trial Tr. at 2761).



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       Following this testimony, the Court found that Rule 901 had been satisfied. See

Trial Tr. at 2378-79. The Court confirms that ruling here. Christensen explained how

she obtained the files from MarCon, and she testified specifically regarding some of the

Exhibits. Contrary to Martin’s objection, Rule 901 was satisfied. With regard to the

hearsay objection, 15 of these Exhibits were authored by Martin and so are not hearsay as

to her under Rule 801(d)(2)(A). The defendants do not identify any of these exhibits that

were offered and used for the truth of the matters contained in them.

       With regard to defendant Swigert, the Court offered a limiting instruction that the

jury could not consider these documents against him. See Trial Tr. at 2378-79. Swigert’s

counsel declined the offer at that time. Id. at 2379. Swigert cannot now complain that

the documents are hearsay as to him.

       The defendants argue next that the testimony of Christina Mendez was so

unreliable that justice requires a new trial. They point out that at the Grand Jury, she

testified that he could not recall the circumstances surrounding her notarization of

Exhibits 1905 and 1906, and then at trial she testified that she notarized them at the same

time. She explained, however, that after her Grand Jury testimony, she was shown

Exhibits 1098 and 1911, not previously available, and they jogged her memory of the

events. Other evidence confirms that Mendez was responsible for setting up the meeting

where she says she notarized Exhibits 1905 and 1906. For all these reasons, the Court

cannot find that her testimony requires a new trial.

Motion for Arrest of Judgment



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       The defendants have filed a motion to arrest judgment under Rule 34, arguing that

the Counts 23, 24, and 25 of the Superseding Indictment are insufficient to support a

conviction. The defendants did not raise this argument until after the Government had

rested its case.

       An indictment must be a “plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed.R.Crim.P. 7(c)(1). An indictment is

sufficient if it contains “the elements of the charged crime in adequate detail to inform

the defendant of the charge and to enable him to plead double jeopardy.” U.S. v. Awad,

551 F.3d 930, 935 (9th Cir. 2009). The test for sufficiency of the indictment is “not

whether it could have been framed in a more satisfactory manner, but whether it

conforms to minimal constitutional standards.” Id.

       When, as in the present case, a defendant’s challenge is not brought before trial,

the indictment is “liberally construed” because the defendant had an opportunity to

resolve any ambiguity in the indictment through a pre-trial motion. Id. at 937. In Awad,

the issue was whether an indictment was sufficient that omitted the requirement that

defendant “willfully” defraud Medicare. Id. at 935-36. Because the defendants failed to

challenge the indictment until trial, the Circuit reviewed it under the “liberal” standard,

holding that a “’liberal’ and ‘common sense’ reading of the indictment signals

unmistakably that Defendant acted with a bad purpose, which is the Supreme Court's

definition of ‘willfully.’” Id. at 937.

       In this case, the Superseding Indictment used the word “corruptly” to describe the

mens rea requirement. That is the only mens rea requirement listed by the statute, 18

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U.S.C. § 1505 – it contains no requirement that the defendant act “willfully” or

“knowingly.” So the Indictment precisely tracked the statute. And the term “corruptly”

implies that the defendant must know of the pending proceeding he is charged with

obstructing. For these reasons, the Court will deny the motion.

Motion to Strike Attachment A to Defense Brief

       Following the evidentiary hearing on the forfeiture issue, the defense filed a post-

hearing brief as requested by the Court. In addition, the defense filed an Attachment to

that brief that is a motion to exclude certain evidence that had been submitted in the

forfeiture hearing. The Attachment was never filed as a proper motion, and it reargues

matters already resolved in the evidentiary hearing. The Government filed a motion to

strike it, and the Court will grant that motion.

                                          ORDER

       In accordance with the Memorandum Decision set forth above,

       NOW THEREFORE IT IS HEREBY ORDERED, that the motion for arrest of

judgment (docket no. 267), the motion for new trial (docket no. 268), motion for acquittal

(docket no. 269) are DENIED.

       IT IS FURTHER ORDERED, that the Government’s motion (docket no. 282) to

strike Attachment A to the defense brief is GRANTED.




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                                        DATED: February 25, 2014


                                        _________________________
                                        B. Lynn Winmill
                                        Chief Judge
                                        United States District Court




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